   8:05-cr-00274-LSC-FG3          Doc # 41       Filed: 10/24/05    Page 1 of 1 - Page ID # 79




                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                     8:05CR274
              vs.                            )
                                             )                     ORDER
ROSIO CRUZ,                                  )
                                             )
                     Defendant.              )


       Before the court is defendant’s Motion to Continue Evidentiary Hearing [40] previously
       scheduled for October 25, 2005. Good cause being shown, the motion will be granted and
       the evidentiary hearing will be rescheduled.

       IT IS ORDERED:

       1.     That the defendant’s Motion to Continue Evidentiary Hearing [40] is granted.
              Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       2.     That the evidentiary hearing on the Motion for Relief from Joinder, Motion for Separate
              Trials [34] and Motion to Inspect Video and Sound Equipment [35] filed by defendant
              Rosio Cruz is continued to November 15, 2005 at 3:00 p.m. before Magistrate Judge
              F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S. Courthouse, 111
              So. 18th Plaza, Omaha, Nebraska.

       Since this is a criminal case, the defendant must be present, unless excused by the Court.
An interpreter will be provided by the court.

       DATED this 24th day of October, 2005.




                                             BY THE COURT:



                                             s/ F. A. Gossett
                                             U.S. Magistrate Judge
